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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION

ERASTO ARROYO BARCENAS,                            §
MELVIN AMADOR RODAS; IVAN RUANO                    §
NAVA; NOLIS LEYVA-GONZALEZ; JOSE                   §
CARLOS GOMEZ-COLORADO; JOSE LUIS                   §
DOMINGUEZ-ROJAS; MELVIN AMAYA                      §
ZELAYA; JESUS CURIPOMA; OSCAR                      §
SERRANO MARTINEZ; CHRISTIAN IVAN                   §
RUIZ-RODRIGUEZ; ISRAEL BAYLON                      §
ARELLANO; JOSE LOPEZ LOZANO;                       §
MIGUEL LOPEZ LOZANO; FRANCISCO                     §
VILLALPANDO RAMOS; CESAR GALINDO                   §
ESCOTO,                                            §
     Plaintiffs,                                   §
     Individually and On Behalf of the Class       §
     of Those Similarly Situated,                  §
                                                   §
                                                   §
VS.                                                §     Case No. 1:22-cv-00397-RP
                                                   §
                                                   §
STEVEN MCCRAW in his individual capacity;          §
GREG ABBOTT in his individual and official         §
capacities; BRYAN COLLIER in his individual        §
capacity; BRAD COE in his individual capacity,     §
and KINNEY COUNTY, TEXAS                           §
       DEFENDANTS.                                 §


      DEFENDANTS BRAD COE, IN HIS INDIVIDUAL CAPACITY AND KINNEY
             COUNTY, TEXAS’ RULE 12(b)(6) MOTION TO DISMISS
            PLAINTIFFS’ SECOND AMENDED COMPLAINT [Dkt. 10]


TO THE HONORABLE U.S. DISTRICT COURT:

       DEFENDANTS BRAD COE (“Defendant Coe”), in his individual capacity and KINNEY

COUNTY, TEXAS (the “County”) (hereinafter collectively referred to as “Defendants”) file this

Motion To Dismiss in response to Plaintiffs Erasto Arroyo Barcenas, Melvin Amador Rodas, Ivan

Ruano Nava, Nolis Leyva-Gonzalez, Jose Carlos Gomez-Colorado, Jose Luis Dominguez-Rojas,


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Melvin Amaya Zelaya, Jesus Curipoma, Oscar Serrano Martinez, Christian Ivan Ruiz-Rodriguez,

Israel Baylon Arrellano, Jose Lopez Lozano, Miguel Lopez Lozano, Francisco Villalpando Ramos,

and Cesar Galindo Escoto’s (hereinafter collectively referred to as “Plaintiffs”) Second Amended

Complaint [Dkt. 10] as authorized by Federal Rules of Civil Procedure 12(b)(6) and would

respectfully show the Court as follows:

                                             I.
                                    FACTUAL ALLEGATIONS

A.        Specific factual allegations against Defendant Brad Coe.

1.        Plaintiffs’ Second Amended Complaint [Dkt. 10] makes a variety of allegations about

various elected Kinney County officials and their statements. However only Defendant Coe is

named as a Defendant in his individual capacity [Dkt. 10, ¶¶ 24, 149-150] and Plaintiffs have

identified him as the only alleged policy maker for Kinney County. [Dkt. 10, ¶¶ 149-150, 154,

156, 158]. Therefore, it is only necessary to recite the specific factual allegations involving

Defendant Coe.

2.        Plaintiffs allege that as of 2019 Sheriff Brad Coe was using “Stonegarden” deputies from

Homeland Security to conduct border enforcement. [Dkt. 10, ¶ 36].

3.        Plaintiffs allege that Defendant Coe was a complaining witness on several occasions. [Dkt.

10, ¶¶ 38, 49].

4.        Plaintiffs allege that on October 1, 2021, Judge Shahan ordered that Mr. Ruano Nava be

released into the custody of his attorney who was waiting “outside the pretrial prison unit” 1 and

that unidentified “jail personnel” ignored the order and transported Mr. Nava directly to Customs




1   Although not stated, in context this language seems to refer to one of the TDJC facilities.


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and Border Patrol. [Dkt. 10, ¶102]. However, Plaintiffs have not alleged that Defendant Coe

ordered this action or that he even knew about it beforehand.

5.     Plaintiffs allege that Defendant Coe entered into various conspiracies with other

Defendants. [Dkt. 10, ¶159-162].

                                      II.
                      PLAINTIFFS’ALLEGED CAUSES OF ACTION

A.     Causes of action alleged against Defendant Brad Coe.

6.     Plaintiffs allege a 42 U.S.C. §1983 claim against Defendant Coe in his individual capacity.

[Dkt. 10, ¶¶ 149-150]. Plaintiffs claim that Defendant Coe is the final policymaker for Kinney

County law enforcement and jail operations. [Dkt. 10, ¶149]. Plaintiffs claim that Defendant Coe

is responsible for the constitutional violations, that he was directly engaged and as a policy maker

for Kendall County. [Dkt. 10, ¶150].

7.     Plaintiffs allege a 42 U.S.C. §1983 conspiracy allegation that Defendant Coe conspired

with Defendants Abbott and McCraw to engage in immigration enforcement. [Dkt. 10, ¶ 159].

8.     Plaintiffs allege a 42 U.S.C. §1983 conspiracy allegation that Defendant Coe conspired

with Defendant Collier to deny detainees their right to counsel and to refuse to release those who

were lawfully entitled to release. [Dkt. 10, ¶ 160].

9.     Plaintiffs allege a 42 U.S.C. §1985 conspiracy allegation that Defendant Coe conspired

with Defendants Abbott and McCraw to implement Operation Lone Star (“OLS”) for the specific

purpose of depriving a class of persons of equal protection. [Dkt. 10, ¶ 161].

10.    Finally, Plaintiffs allege a 42 U.S.C. §1985 conspiracy allegation that Defendant Coe

conspired with Defendant Collier to deny detainees their right to counsel and to refuse to release

those who were lawfully entitled to release. [Dkt. 10, ¶ 162].

C.     Specific allegations against Kinney County.



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11.    Plaintiffs allege that Kinney County has an official policy of arresting anyone who looks

like an illegal alien for trespassing in violation of the Fourth and Fourteenth Amendments. [Dkt.

10, ¶154].

12.    Plaintiffs allege that Kinney County has an official policy of substantially delaying or

denying the right to counsel in violation of the Sixth Amendment. [Dkt. 10, ¶154].

13.    Plaintiffs allege that Kinney County has an official policy of delaying or denying release

of those incarcerated in violation of the Fourth Amendment. [Dkt. 10, ¶154].

14.    Plaintiffs allege that Kinney County has an official policy of failing to train. [Dkt. 10,

¶¶155-157].

15.    Finally, Plaintiffs allege that Kinney County and Defendant Coe have an official policy of

denying the right to counsel in violation of the Sixth Amendment and of over-incarceration in

violation of the Fourth and Fourteenth Amendments. [Dkt. 10, ¶ 158].

                                      III.
                   MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM
                                   RULE 12(b)(6)


A.     Standard of review.

16.    If a complaint fails to state a claim upon which relief can be granted, a court is entitled to

dismiss the complaint as a matter of law. FED R. CIV. P 12(b)(6). To survive a Rule 12(b)(6)

motion to dismiss, “a complaint must contain sufficient factual matter, accepted as true, to ‘state a

claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 129 S. Ct. 1937, 1949

(2009)(quoting Bell Atl. Corp. v. Twombly, 550 U.S. 44, 556 (2007)). A claim is plausible on its

face “when the plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Id. (quoting Twombly, 550 U.S.

at 556). The plausibility standard “asks for more than a sheer possibility that a defendant has acted


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unlawfully.” Id. (citation omitted). Rather, the court must be sure that the complaint alleges

sufficient facts to move the claim “across the line from conceivable to plausible.” Twombly, 550

U.S. at 570. When considering a motion to dismiss under Rule 12(b)(6) the court “accepts all

well-pleaded facts as true, viewing them in the light most favorable to the plaintiff.” Sonnier v.

State Farm Mut. Auto. Ins. Co., 509 F.3d 673, 675 (5th Cir. 2007).

17.     Dismissal can be based on either a lack of a cognizable legal theory or the absence of

sufficient facts alleged under a cognizable legal theory. See Frith v. Guardian Life Ins. Co. of Am.,

9 F.Supp.2d 734, 737-38 (S.D. Tex. 1998). While a complaint need not contain detailed factual

allegations to survive a 12(b)(6) motion, a plaintiff’s “obligation to provide the ‘grounds’ of his

‘entitlement to relief’ requires more than labels and conclusions, and a formulaic recitation of the

elements of a cause of action will not do.” Twombly, 550 U.S. at 555. Conclusory allegations or

legal conclusions masquerading as factual conclusions will not suffice to prevent a motion to

dismiss. See Fernandez–Montes v. Allied Pilots Ass’n, 987 F.2d 278, 284 (5th Cir. 1993).

18.     As explained herein, Plaintiffs Second Amended Complaint fails to allege “enough facts to

state a claim to relief that is plausible on its face” and “raise a right to relief above the speculative

level.” Id; Nationwide BiWeekly Admin. Inc. v. Belo Corp., 512 F.3d 137, 140 (5th Cir. 2007).

B.      Plaintiffs failed to plead a plausible Fourth Amendment violation (illegal arrest).

19.     Plaintiffs allege that Defendant Coe and the County violated their Fourth and Fourteenth

Amendment rights by having an official policy of arresting anyone who looks like an illegal alien

for trespassing in violation of the Fourth and Fourteenth Amendments. [Dkt. 10, ¶154].

20.     However, Plaintiffs have not alleged enough facts to create a reasonable inference that

Defendant Coe was personally involved in arresting any of the named Plaintiffs.




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21.     Likewise, Plaintiffs have not alleged enough facts to create a reasonable inference that the

County had such a policy or that any such alleged policy led to any illegal arrest or violated

Plaintiffs’ rights.

22.     Plaintiffs have not alleged sufficient facts to create a reasonable inference that the officers

who actually arrested Plaintiffs did not have probable cause to believe that Plaintiffs were not

trespassing. Based on the factual allegations and reasonable inferences drawn therefrom, Plaintiffs

were arrested for violation of Texas’ criminal trespass statute and not solely based on their

immigration status.

23.     “To state a section 1983 claim, ‘a plaintiff must (1) allege a violation of a right secured by

the Constitution or laws of the United States and (2) demonstrate that the alleged deprivation was

committed by a person acting under color of state law.’” Whitley v. Hanna, 726 F.3d 631, 638 (5th

Cir. 2013)(quoting James v. Tex. Collin Cty., 535 F.3d 365, 373 (5th Cir. 2008)).

24.     Plaintiffs’ Second Amended Complaint does not contain sufficient facts to support a

reasonable inference that Defendant Coe or the County violated any specific right secured by the

Constitution or laws of the United States in connection with Plaintiffs’ arrests.

25.     In other words, Plaintiffs’ Second Amended Complaint does not plead a facially plausible

claim for a Fourth and Fourteenth Amendment violation against Defendants Coe or Kinney

County.

26.     A complaint is facially plausible when it pleads “factual content that allows the court to

draw the reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft v.

Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937, 173 L. Ed. 2d 868 (2009); Hutcheson v. Dallas Cty.,

Texas, 994 F.3d 477, 482 (5th Cir. 2021), cert. denied sub nom. Hutcheson v. Dallas Cty., TX, No.

21-549, 2021 WL 5434539 (U.S. Nov. 22, 2021). Plaintiffs’ failure to plead sufficient factual




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allegations about the circumstances leading to Plaintiffs’ arrests do not reach this standard. It

appears that all Plaintiffs were arrested based on probable cause while committing criminal

trespass in violation of the Texas Penal Code. This Court should dismiss Plaintiffs’ Fourth and

Fourteenth Amendment Claims against Defendant Coe and the County in their entirety.

C.     Plaintiffs failed to plead a plausible Sixth Amendment claim (denial of counsel).

27.    Plaintiffs claim that Defendant Coe and Kinney County substantially delayed or denied

their right to counsel in violation of the Sixth Amendment. [Dkt. 10, ¶¶154, 158].

28.    Plaintiffs have not pled sufficient facts to create a reasonable inference that Defendant Coe

was personally responsible or involved in delaying or denying the appointment of counsel for any

of the named Plaintiffs, or even that Defendant Coe was statutorily obligated to appoint counsel

for Plaintiffs. In Texas, judges appoint counsel to indigent defendants, Sheriffs do not. See Tex.

Code Crim. Proc. art. 26.04.

29.    Likewise, Plaintiffs have not pled sufficient facts to create a reasonable inference that the

County had a policy of delaying or denying any arrestee their right to counsel or that Defendant

Coe, as the alleged policy maker, could make such a policy for the County.

       The judges of the county courts, statutory county courts, and district courts trying
       criminal cases in each county, by local rule, shall adopt and publish written
       countywide procedures for timely and fairly appointing counsel for an indigent
       defendant in the county arrested for, charged with, or taking an appeal from a
       conviction of a misdemeanor punishable by confinement or a felony.

Tex. Code Crim. Proc. 26.04.

30.    Moreover, Plaintiffs allege that the Texas Supreme Court issued an Order that modified

the Code of Criminal Procedure in order to provide a methodology to appoint defense counsel for

Plaintiffs. [Dkt. 10, ¶53]. From this allegation, the Court might infer that the Texas Supreme

Court adopted a particular policy, but it is insufficient to support an inference that this is a Kinney




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County policy. In other words, Plaintiffs’ Second Amended Complaint does not plead a facially

plausible claim for a Sixth Amendment violation against Defendants Coe or Kinney County.

31.     A complaint is facially plausible when it pleads “factual content that allows the court to

draw the reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft,

556 U.S. at 678. Plaintiffs’ own allegations demonstrate that the Texas Supreme Court is

responsible for the way counsel is appointed for Plaintiffs. Neither Defendant Coe, nor any alleged

policy of Kinney County delayed or denied Plaintiffs’ access to counsel. This Court should

dismiss Plaintiffs’ Sixth Amendment claims against Defendant Coe and the County in their

entirety.

D.      Plaintiffs failed to plead a plausible Fourth Amendment claim (over-incarceration).

32.     Plaintiffs claim that Defendant Coe and Kinney County delayed or denied release of

incarcerated persons who were entitled to release in violation of the Fourth Amendment. [Dkt. 10,

¶154; 158].

33.     Plaintiffs have not alleged enough facts to create a reasonable inference that Defendant

Coe was personally involved in delaying or denying the release of any of the named Plaintiffs.

34.     Likewise, Plaintiffs have not alleged enough facts to create a reasonable inference that the

County had such a policy or that any such policy caused the delay or denial of the timely release

of any of the named Plaintiffs.

35.     Plaintiffs allege that “[o]n September 30, 2021, Mr. Ruano Nava’s defense counsel sent a

demand letter to . . . Kinney County Sherriff Coe, explaining that an ICE detainer expires after 48

hours from the time the defendant is eligible for release.” [Dkt. 10, ¶ 102]. However, this allegation

does not demonstrate that Defendant Coe took or refrained from taking any action. Plaintiffs do

not allege that Sheriff Coe received the demand letter or when it might have been received.




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36.    Plaintiffs allege that on the next day (October 1, 2021), Judge Shahan ordered that Mr.

Ruano Nava be released into the custody of his attorney who was waiting “outside the pretrial

prison unit” and that unidentified “jail personnel” ignored the order and transported Mr. Nava

directly to Customs and Border Patrol. [Dkt. 10, ¶102].

37.    Plaintiffs do not allege that Defendant Coe knew about Judge Shahan’s order or that

Defendant Coe had any personal communications or involvement with the unidentified “jail

personnel” (who in the context of the words “outside the pretrial prison unit” were probably at one

of the two TDCJ facilities) who allegedly transported Mr. Nava to Customs and Border Patrol.

This allegation says nothing about what Defendant Coe did or failed to do.

38.    Plaintiffs Second Amended Complaint does not plead a facially plausible claim for a Fourth

or Fourteenth Amendment violation of over-incarceration against Defendants Coe or Kinney

County. Plaintiffs’ failure to plead sufficient factual allegations to show that Defendant Coe

individually and/or any policy of Kinney County delayed Mr. Nava’s release does not reach this

standard. This Court should dismiss Plaintiffs’ Fourth and Fourteenth Amendment claims relating

to over-incarceration against Defendant Coe and the County in their entirety.

E.     Plaintiffs failed to plead a plausible failure to train cause of action.

39.    Plaintiff states that Kinney County has an official policy of failing to train its employees in

specific requirements allegedly mandated by 8 U.S.C. §1357. [Dkt. 10, ¶¶155-157]. However,

Plaintiffs have not pled sufficient facts to create a reasonable inference that 8 U.S.C. §1357 is

applicable.

40.    The statute defines the powers of immigration officers and employees of the “Service.” 8

U.S.C. § 1357(a)(“Any officer or employee of the Service authorized under regulations prescribed

by the Attorney General shall have power without warrant….”)(emphasis added). “The term




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‘Service’ means the Immigration and Naturalization Service of the Department of Justice.” 8

U.S.C. § 1101(34).

41.    The specific portion of the statute dealing with state officers and employees is as follows:

       (g) Performance of immigration officer functions by State officers and
       employees

       (1) Notwithstanding section 1342 of Title 31, the Attorney General may enter into
       a written agreement with a State, or any political subdivision of a State, pursuant
       to which an officer or employee of the State or subdivision, who is determined by
       the Attorney General to be qualified to perform a function of an immigration officer
       in relation to the investigation, apprehension, or detention of aliens in the United
       States (including the transportation of such aliens across State lines to detention
       centers), may carry out such function at the expense of the State or political
       subdivision and to the extent consistent with State and local law.

       (2) An agreement under this subsection shall require that an officer or employee
       of a State or political subdivision of a State performing a function under the
       agreement shall have knowledge of, and adhere to, Federal law relating to the
       function, and shall contain a written certification that the officers or employees
       performing the function under the agreement have received adequate training
       regarding the enforcement of relevant Federal immigration laws.

       ....

8 U.S.C. § 1357 (emphasis added).

42.    Plaintiff’s Second Amended Complaint does not allege that any such agreement with the

Attorney General’s office exists. Therefore, no additional training is mandated by this statute.

43.    Plaintiffs’ Second Amended Complaint does not plead a facially plausible claim for a

failure to train against Defendants Coe or Kinney County based on any federal statute. Absent an

agreement between Kinney County and the Attorney General’s office, 8 U.S.C §1357(g) simply

does not apply.

44.    “[T]he inadequacy of police training may serve as the basis for § 1983 liability only where

the failure to train amounts to deliberate indifference to the rights of persons with whom the police

come into contact.” City of Canton, Ohio v. Harris, 489 U.S. 378, 388, 109 S. Ct. 1197, 1204, 103



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L. Ed. 2d 412 (1989). “In resolving the issue of a city's liability, the focus must be on adequacy

of the training program in relation to the tasks the particular officers must perform. That a

particular officer may be unsatisfactorily trained will not alone suffice to fasten liability on the

city, for the officer's shortcomings may have resulted from factors other than a faulty training

program.” Id. at 390–91. A “plaintiff must show that: (1) the supervisor either failed to supervise

or train the subordinate official; (2) a causal link exists between the failure to train or supervise

and the violation of the plaintiff's rights; and (3) the failure to train or supervise amounts to

deliberate indifference.” Est. of Davis ex rel. McCully v. City of N. Richland Hills, 406 F.3d 375,

381 (5th Cir. 2005).

45.    Plaintiffs’ Second Amended Complaint does not describe the training received by Kinney

County Deputies or how it would be inadequate for arresting any person (whether an illegal alien

or a United States Citizen) for criminal trespass. Plaintiffs, like any other person are subject to the

penal laws of the state of Texas. See Arizona v. United States, 567 U.S. 387, 400, 132 S. Ct. 2492,

2501, 183 L. Ed. 2d 351 (2012)(“the historic police powers of the States” are not superseded

“unless that was the clear and manifest purpose of Congress.”).

46.    Plaintiffs have not alleged that any particular Kinney County employee violated any

Plaintiffs’ rights. Plaintiffs have not pled facts to show that any supervisor either failed to

supervise or train any such Kinney County employee for the job that they actually perform.

Plaintiffs have not pled facts to demonstrate a causal link exists between the failure to train or

supervise and any violation of Plaintiffs’ rights. And finally, Plaintiffs have not pled facts to

support a reasonable inference that any failure to train or supervise amounts to deliberate

indifference. The Court should dismiss Plaintiffs’ claims of failure to train against Defendant Coe

and Kinney County in their entirety.




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F.       Plaintiffs failed to plead a plausible Section 1983 conspiracy claim.

47.      Plaintiffs allege that Defendant Coe conspired with Defendants Abbott and McCraw to

engage in “immigration enforcement” and that the conspirators implemented OLS without the

involvement of the federal government and based on race/color and/or immigration status in

violation of the United States Constitution. [Dkt. 10, ¶ 159].

48.      Plaintiffs allege that Defendant Coe conspired with Defendant Collier to deny detainees

the right to counsel and to refuse to release those who were lawfully entitled to release. [Dkt. 10,

¶160].

49.      “To state a § 1983 conspiracy claim, a plaintiff must allege: (1) an agreement between a

defendant and others, involving at least one person acting under color of state law to commit an

illegal act; and (2) an actual deprivation of the plaintiff's constitutional rights in furtherance of that

agreement.”      Bright v. City of Killeen, Texas, 532 F. Supp. 3d 389, 397–98 (W.D. Tex.

2021)(citing Krueger v. Reimer, 66 F.3d 75, 77 (5th Cir. 1995)). “A plaintiff who asserts a

conspiracy claim under a civil rights statute must plead the operative facts upon which their claim

is based.” Id. (citing Young v. Biggers, 938 F.2d 565, 569 (5th Cir. 1991)).

50.      Plaintiffs’ Second Amended Complaint does not plead facts about any particular time, date

or event where Defendant Coe allegedly entered into any agreement with any other Defendant to

commit any specific illegal act. “A conclusory allegation of agreement at some unidentified point

does not supply facts adequate to show illegality.” Terwilliger v. Reyna, 4 F. 4th 270, 285 (5th Cir.

2021)(quoting Twombly, 550 U.S. at 557, 127 S. Ct. at 1966).

         The need at the pleading stage for allegations plausibly suggesting (not merely
         consistent with) agreement reflects the threshold requirement of Rule 8(a)(2) that
         the “plain statement” possess enough heft to “sho[w] that the pleader is entitled to
         relief.” A statement of parallel conduct, even conduct consciously undertaken,
         needs some setting suggesting the agreement necessary to make out a § 1 claim;
         without that further circumstance pointing toward a meeting of the minds, an



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       account of a defendant's commercial efforts stays in neutral territory. An allegation
       of parallel conduct is thus much like a naked assertion of conspiracy in a § 1
       complaint: it gets the complaint close to stating a claim, but without some further
       factual enhancement it stops short of the line between possibility and plausibility
       of “entitle[ment] to relief.” Cf. DM Research, Inc. v. College of Am. Pathologists,
       170 F.3d 53, 56 (C.A.1 1999) (“[T]erms like ‘conspiracy,’ or even ‘agreement,’ are
       border-line: they might well be sufficient in conjunction with a more specific
       allegation—for example, identifying a written agreement or even a basis for
       inferring a tacit agreement, ... but a court is not required to accept such terms as a
       sufficient basis for a complaint”).

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 557, 127 S. Ct. 1955, 1966, 167 L. Ed. 2d 929 (2007).

51.    Plaintiffs’ conclusory allegations are not entitled to a presumption of truth. These types of

allegations were examined by the Supreme Court:

       We begin our analysis by identifying the allegations in the complaint that are not
       entitled to the assumption of truth. Respondent pleads that petitioners “knew of,
       condoned, and willfully and maliciously agreed to subject [him]” to harsh
       conditions of confinement “as a matter of policy, solely on account of [his] religion,
       race, and/or national origin and for no legitimate penological interest.” The
       complaint alleges that Ashcroft was the “principal architect” of this invidious
       policy, and that Mueller was “instrumental” in adopting and executing it. These
       bare assertions, much like the pleading of conspiracy in Twombly, amount to
       nothing more than a “formulaic recitation of the elements” of a constitutional
       discrimination claim, 550 U.S., at 555, 127 S.Ct. 1955, namely, that petitioners
       adopted a policy “ ‘because of,’ not merely ‘in spite of,’ its adverse effects upon an
       identifiable group,” Feeney, 442 U.S., at 279, 99 S.Ct. 2282. As such, the
       allegations are conclusory and not entitled to be assumed true. Twombly, 550 U.S.,
       at 554–555, 127 S.Ct. 1955.

Ashcroft v. Iqbal, 556 U.S. 662, 680–81, 129 S. Ct. 1937, 1951, 173 L. Ed. 2d 868 (2009)(internal

references to the record omitted). “Mere conclusory allegations of conspiracy cannot, absent

reference to material facts, survive a motion to dismiss.” Arsenaux v. Roberts, 726 F.2d 1022,

1024 (5th Cir. 1982). Plaintiffs have not pled sufficient facts, taken as true, to support a reasonable

inference of the existence of any agreement between Defendant Coe and any other Defendant to

commit an illegal act.




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52.       Plaintiffs also fail to plead sufficient facts to demonstrate that there was an actual

deprivation of any of the Plaintiffs’ Constitutional rights in furtherance of any such agreement.

Plaintiffs’ allegations are conclusory at best and are insufficient to survive a motion to dismiss.

The Court should dismiss Plaintiffs’ 1983 conspiracy claims against Defendant Coe in their

entirety.

G.        Plaintiffs failed to plead a plausible Section 1985 conspiracy claim.

53.       “To state a claim under § 1985(3), a plaintiff must allege facts demonstrating (1) a

conspiracy; (2) for the purpose of depriving a person of the equal protection of the laws; and (3)

an act in furtherance of the conspiracy; (4) which causes injury to a person or a deprivation of any

right or privilege of a citizen of the United States.” Lockett v. New Orleans City, 607 F.3d 992,

1002 (5th Cir. 2010)(citing Hilliard v. Ferguson, 30 F.3d 649, 652–53 (5th Cir.1994)).

Additionally, the conspiracy must also have a racially based animus. Id.

54.       Plaintiffs allege that Defendant Coe conspired with Defendants Abbott and McCraw to

implement OLS specifically to deprive a class of persons of equal protection of the law. [Dkt. 10,

¶ 161].

55.       Plaintiffs allege that Defendant Coe conspired with Defendant Collier to deny detainees of

the right to counsel and to refuse to release those who were lawfully entitled to release. [Dkt. 10,

¶162].

56.       Plaintiffs have not pled sufficient facts to support a reasonable inference that Defendant

Coe ever entered into a conspiracy with anyone. Plaintiff fails to state a time, place or occasion

where an agreement between Defendant Coe and any other Defendant to commit an illegal act

could reasonably have been made. “Without more, parallel conduct does not suggest conspiracy,

and a conclusory allegation of agreement at some unidentified point does not supply facts adequate




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to show illegality.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556–57, 127 S. Ct. 1955, 1966, 167

L. Ed. 2d 929 (2007)

        While a complaint attacked by a Rule 12(b)(6) motion to dismiss does not need
        detailed factual allegations, a plaintiff's obligation to provide the “grounds” of his
        “entitle[ment] to relief” requires more than labels and conclusions, and a formulaic
        recitation of the elements of a cause of action will not do. Factual allegations must
        be enough to raise a right to relief above the speculative level.

Id. at 555.

58.     Plaintiffs have not alleged sufficient facts to support that there was any an act in furtherance

of any conspiracy.

59.     Plaintiffs have not alleged sufficient fact to show that any act in furtherance of a conspiracy

deprived Plaintiffs of any right or privilege of a citizen of the United States.

60.     Plaintiffs have not pled sufficient facts to support a reasonable inference that Defendants

conspired to deprive Plaintiffs of their constitutional rights because of their race. The Fifth Circuit

recognizes Section 1985 conspiracy claims only when racial “invidiously discriminatory animus

behind the conspirators’ action” is involved. Cantú v. Moody, 933 F.3d 414 (5th Cir. 2019).

61.     The Court should dismiss Plaintiffs Section 1985 conspiracy claims against Defendant Coe

in their entirety.

H.      Defendant Coe is entitled to qualified immunity.

62.     Defendant Coe is the duly elected Sheriff of Kinney County, Texas. However, Defendant

Coe was sued only in his individual capacity. Therefore, he is entitled to raise and does raise the

defense of qualified immunity. “The defense of qualified immunity applies only to suits against

defendants in their individual capacities.” Walker v. Howard, 517 F. App'x 236, 237 (5th Cir.

2013)(citing Kentucky v. Graham, 473 U.S. 159, 166–67, 105 S. Ct. 3099, 87 L. Ed. 2d 114

(1985)).




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63.    Qualified immunity, an affirmative defense, protects government officials in their personal

capacity performing discretionary functions not only from suit, but from “liability for civil

damages insofar as their conduct does not violate clearly established statutory or constitutional

rights of which a reasonable person would have known.” Harlow v. Fitzgerald, 457 U.S. 800, 818,

102 S. Ct. 2727, 73 L. Ed. 2d 396 (1982); Pearson v. Callahan, 555 U.S. 223, 129 S. Ct. 808, 815,

172 L. Ed. 2d 565 (2009).

       Qualified immunity protects government officials “from liability for civil damages
       insofar as their conduct does not violate clearly established statutory or
       constitutional rights of which a reasonable person would have known.” Harlow v.
       Fitzgerald, 457 U.S. 800, 818, 102 S. Ct. 2727, 73 L.Ed.2d 396 (1982). To
       determine whether a defendant is entitled to qualified immunity, this court engages
       in a two-pronged analysis, inquiring (1) whether the plaintiff has alleged a violation
       of a constitutional right and, if so, (2) whether the defendant's behavior was
       objectively reasonable under clearly established law at the time the conduct
       occurred. Saucier v. Katz, 533 U.S. 194, 121 S. Ct. 2151, 150 L.Ed.2d 272 (2001),
       overruled in part by Pearson v. Callahan, 555 U.S. 223, 129 S. Ct. 808, 172 L.Ed.2d
       565 (2009); Hampton v. Oktibbeha Cnty. Sheriff Dep't, 480 F.3d 358, 363 (5th
       Cir.2007) (citing Easter v. Powell, 467 F.3d 459, 462 (5th Cir.2006)). “If the
       plaintiff fails to state a constitutional claim or if the defendant's conduct was
       objectively reasonable under clearly established law, then the government official
       is entitled to qualified immunity.” Hampton, 480 F.3d at 363 (citing Easter, 467
       F.3d at 462). “The relevant, dispositive inquiry in determining whether a right is
       clearly established is whether it would be clear to a reasonable officer that his
       conduct was unlawful in the situation he confronted.” Lytle v. Bexar Cnty., Tex.,
       560 F.3d 404, 410 (5th Cir.2009) (quoting Saucier, 533 U.S. at 202, 121 S. Ct.
       2151). If the answer to either of the two questions is “no,” qualified immunity
       applies and the government official is immune from suit. The plaintiff bears the
       burden of overcoming the qualified immunity defense. Bennett v. City of Grand
       Prairie, Tex., 883 F.2d 400, 408 (5th Cir.1989). After the Supreme Court's decision
       in Pearson, 555 U.S. 223, 129 S. Ct. 808, courts have discretion as to which of the
       two qualified immunity prongs to address first.

Castera Robles v. Cayton, 454 F. App'x 373, 376–77 (5th Cir. 2011). “[A] defendant's acts are

held to be objectively reasonable unless all reasonable officials in the defendant's circumstances

would have then known that the defendant's conduct violated the United States Constitution, or

the federal statute as alleged by the plaintiff.” Thompson v. Upshur County, Texas, 245 F.3d 447,




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457 (5th Cir. 2001). The officer is “entitled to qualified immunity if his or her conduct was

objectively reasonable in light of the legal rules that were clearly established at the time of his or

her actions,” even if the conduct violated the plaintiff's constitutional right. McClendon v. City of

Columbia, 305 F.3d 314, 323 (5th Cir. 2002)(en banc).

64.     Although qualified immunity is an affirmative defense, “plaintiff has the burden to negate

the assertion of qualified immunity once properly raised.” Collier v. Montgomery, 569 F.3d 214,

217 (5th Cir.2009). To meet this burden the plaintiff must allege facts showing that the defendants

committed a constitutional violation under the current law and that the defendants' actions were

objectively unreasonable in light of the law that was clearly established at the time of the actions

complained of. See Atteberry v. Nocona General Hosp., 430 F.3d 245, 253 (5th Cir. 2005).

65.     Once a defendant raises a qualified immunity defense, the Fifth Circuit requires a plaintiff

to show with factual detail and particularity why the defendant official cannot maintain the

qualified immunity defense. Elliott v. Perez, 751 F.2d 1472, 1473 (5th Cir. 1985); see also

Schultea v. Wood, 47 F.3d 1427, 1429–34 (5th Cir. 1995)(en banc)(“When a public official pleads

the affirmative defense of qualified immunity . . . . the reply must be tailored to the assertion of

qualified immunity and fairly engage its allegations. A defendant has an incentive to plead his

defense with some particularity because it has the practical effect of requiring particularity in the

reply.”).

66.     The Fifth Circuit revisited the Schultea standard (requiring plaintiff to support a “claim

with sufficient precision and factual specificity to raise a genuine issue as to the illegality of

defendant's contact at the time of the alleged acts”) in Morgan v. Hubert, 335 Fed. Appx. 466,

472–73 (5th Cir. 2009). The Court explained the reasons for requiring this standard:

        We did not ground any such requirement in Rule 9(b), but nevertheless required a
        plaintiff to plead more than conclusions. Specifically, we reasoned that “a plaintiff



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       cannot be allowed to rest on general characterizations, but must speak to the factual
       particulars of the alleged actions, at least when those facts are known to the plaintiff
       and are not peculiarly within the knowledge of defendants [emphasis added by
       Morgan panel].” “Heightened pleading requires allegations of fact focusing
       specifically on the conduct of the individual who caused the plaintiffs' injury.”
       Reyes v. Sazan, 168 F.3d 158, 161 (5th Cir.1999).


Morgan, 335 Fed. Appx. at 469–70(emphasis added)(citing Schultea, 47 F.3d at 1432–34).

67.    Courts must examine each officer's actions independently to determine whether he or she

is entitled to qualified immunity. Newman v. Guedry, 703 F.3d 757, 762 (5th Cir.2012). “Because

vicarious liability is inapplicable to . . . § 1983 suits, a plaintiff must plead that each Government-

official defendant, through the official's own individual actions, has violated the Constitution.”

Iqbal, 556 U.S. at 676; see also Marlowe v. LeBlanc, 2022 WL 2101523, at *2 (5th Cir. June 10,

2022) (per curiam)

68.    Plaintiffs do not plead sufficient factual allegations to show that Defendant Coe violated

their Constitutional rights. For example, Plaintiffs allege that as of 2019 Sheriff Brad Coe was

using “Stonegarden” deputies from Homeland Security to conduct border enforcement. [Dkt. 10,

¶ 36]. Obviously, this occurred prior to the 2020 elections and under the prior Presidential

administration and that administration was actively involved in border enforcement. Plaintiffs

have not pled that the alleged use of “Stonegarden” deputies caused Plaintiffs any Constitutional

injury or that Plaintiffs were actually arrested by or otherwise handled by any of the so-called

“Stonegarden” deputies.

69.    Plaintiffs allege that Defendant Coe was a complaining witness on several occasions

(though not in connection with the arrest of any of the named Plaintiffs). [Dkt. 10, ¶¶ 38, 49].

This allegation is insufficient to show a deprivation of Plaintiffs’ rights.




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70.    Plaintiffs allege that on October 1, 2021, Judge Shahan ordered that Mr. Ruano Nava be

released into the custody of his attorney who was waiting “outside the pretrial prison unit” and that

unidentified “jail personnel” ignored the order and transported Mr. Nava directly to Customs and

Border Patrol. [Dkt. 10, ¶102]. However, Plaintiffs do not allege that Defendant Coe ordered or

even knew about the alleged actions of these unidentified “jail personnel” or that they were subject

to his control. This allegation does not show that Defendant Coe did or failed to do anything,

much less that he violated Plaintiffs’ rights.

71.    Likewise, Plaintiffs have not pointed to any clearly established authority that would put

Defendant Coe on notice that he could not be a complaining witness to a crime or engage in a

program with Homeland Security in 2019.

72.    “A Government official's conduct violates clearly established law when, at the time of the

challenged conduct, the contours of a right are sufficiently clear that every reasonable official

would have understood that what he is doing violates that right.” Ashcroft v. al-Kidd, 563 U.S.

731, 741, 131 S. Ct. 2074, 2083, 179 L. Ed. 2d 1149 (2011)(internal quotations and punctuation

omitted). “[C]learly established law should not be defined at a high level of generality,” but must

instead be “particularized to the facts of the case.” White v. Pauly, 137 S. Ct. 548, 552 (2017)

(internal quotations omitted). “It is the plaintiff’s burden to find a case in his favor that does not

define the law at a ‘high level of generality.’” Vann v. City of Southaven, 884 F.3d 307, 310 (5th

Cir. 2018) (per curiam) (quoting Cass v. City of Abilene, 814 F.3d 721, 732–33 (5th Cir. 2016)

(per curiam)). “Because nonprecedential opinions do not establish any binding law for the circuit,

they cannot be the source of clearly established law for qualified immunity analysis.” Marks v.

Hudson, 933 F.3d 481, 486 (5th Cir. 2019) (quotation omitted). “Where public officials assert

qualified immunity in a motion to dismiss, a district court must rule on the immunity question at




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that stage” and “cannot defer that question until summary judgment” or “permit discovery against

the immunity-seeking defendants before it rules on their defense.” Carswell v. Camp, 37 F.4th

1062, at *2 (5th Cir. June 17, 2022).

73.    Plaintiffs have not alleged facts sufficient to overcome Defendant Coe’s qualified

immunity for any of their claims.


       WHEREFORE, PREMISES CONSIDERED, Defendants BRAD COE in his individual

capacity and KINNEY COUNTY, TEXAS respectfully request that the Court grant their Motion

to Dismiss and dismiss all of Plaintiffs’ claims pursuant to FRCP 12(b)(6) and for such other and

further relief to which they may show themselves to be justly entitled, at law and in equity.


                                        Respectfully submitted,



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                                 CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of the foregoing has been served in accordance
with the Federal Rules of Civil Procedure on this 18th day of July 2022, to the following:

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